Case 1:19-cr-20242-UU Document 30 Entered on FLSD Docket 07/22/2019 Page 1 of 13



                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                 CASE NO. 19-CR-20242-UNGARO

  UNITED STATES OF AMERICA,

        Plaintiff,
  vs.

  MEGHANA RAJADHYAKSHA,

       Defendant.
  ______________________________/

 DEFENDANT’S SENTENCING MEMORANDUM AND REQUEST FOR A VARIANCE

          COMES NOW, Defendant, MEGHANA RAJADHYAKSHA (“Ms. Rajadhyaksha”),

  by and      through   her   undersigned counsel and hereby files Defendant’s Sentencing

  Memorandum and Request for a Variance in order to assist the Court in fashioning a fair and

  reasonable sentence in this matter, and as grounds therefore would state the following:

  I.      INTRODUCTION

          On May 31, 2019, Ms. Rajadhyaksha pled guilty to Counts One (1) through Four (4) of a

  four-count Information. Counts One (1) through Three (3) charged her with Mail Fraud in

  violation of 18 U.S.C. § 1341 and Count Four (4) which charged her with Sale of Stolen Goods

  in violation of 18 U.S.C. § 2315.

          Sentencing is this matter is scheduled for July 25, 2019 at 1:30 p.m.

          Ms. Rajadhyaksha is an extremely remorseful, shamed, and scared 39 year-old woman

  now before the Court for sentencing. She is a kind and loving woman who is deeply devoted to

  her husband and two young children; who has spent much of her life helping others in need with

  her generosity and doing charitable work in the community; whose entire family is suffering and



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Case 1:19-cr-20242-UU Document 30 Entered on FLSD Docket 07/22/2019 Page 2 of 13



  has been subjected to ridicule and cruel comments due in part to the social media reports

  regarding the instant offense; who suffers from major depression and social anxiety disorder and

  whose prognosis for recovery with mental health treatment is excellent; who candidly

  acknowledges her mistakes in this offense, and has accepted full responsibility for her actions at

  the earliest stage; and who is making full restitution to the victim; and who with humility, asks

  the Court, as a first-time, non-violent offender, to fashion a sentence that allows her the

  opportunity to redeem herself.

         No one downplays Ms. Rajadhyaksha’s conduct in this matter, but after assessing the

  following mitigating factors, taken individually and collectively, a non-custodial sentence is fair

  and just.

  II.    PRE-SENTENCE INVESTIGATION REPORT AND ADVISORY GUIDELINES

         Ms. Rajadhyaksha has filed no legal objection to the Pre-sentence Investigation Report

  (“PSIR”) regarding her applicable sentencing guideline range. Based upon the calculations

  determined by the probation officer, the total offense level is 13. PSIR at ¶ 41. With a criminal

  history category I, Ms. Rajadhyaksha’s advisory guideline imprisonment range is 12 to 18 months

  (Zone C). PSIR at ¶ 84.

  III.   18 U.S.C. § 3553(a) FACTORS

         Ms. Rajadhyaksha’s request for a variance comports with the sentencing procedures that

  have evolved since the Supreme Court’s decisions in United States v. Booker, 543 U.S. 220

  (2005) and Gall v. United States, 552 U.S. 38 (2007). See also United States v. Livesay, 525

  F.3d 1081, 1089-90 (11th Cir. 2008) (summarizing current sentencing procedures in the

  Eleventh Circuit); United States v. Pugh, 513 F.3d 1179, 1188-91 (11th Cir. 2008).


                                                   2
                                        MASE MEBANE & BRIGGS
Case 1:19-cr-20242-UU Document 30 Entered on FLSD Docket 07/22/2019 Page 3 of 13



          The message of Gall and its companion case, Kimbrough v. United States, 552 U.S.

  85 (2007), is that where circumstances warrant, the district courts can impose sentences that

  vary downward significantly from the advisory guidelines range, and the appellate courts will

  affirm such sentences as reasonable.1

          In particular, the Eleventh Circuit has repeatedly affirmed below-guideline sentences

  after Booker. See United States v. Clay, 483 F.3d 739 (11th Cir. 2007) (affirming 60-month

  sentence even though guidelines were 188-235 months); United States v. Mathis, 186 Fed.

  Appx. 971 (11th Cir. 2006) (50% variance from top end of guidelines affirmed in Hobbs Act

  extortion and obstruction of justice case); United States v. Gray, 453 F.3d 1323 (11th Cir. 2006)

  (affirming 72-month sentence even though low end of guidelines were 151 months, more than

  double sentence imposed); United States v. Halsema, 180 Fed. Appx. 103 (11th Cir. 2006)

  (affirming 24-month sentence even though guidelines were 57-71 months); United States v.

  Williams, 435 F.3d 1350 (11th Cir. 2006) (90 months imprisonment was sufficient, but not

  greater than necessary to punish, deter, and rehabilitate defendant even though low end of

  guidelines was 188 months). And, of course, the Court must also consider all of the factors set

  forth in 18 U.S.C. § 3553(a).

          The sentencing court first evaluates the appropriate guidelines, resolves any

  guidelines objections, and determines the applicable advisory guidelines range.                    Gall, 552

  U.S. at 49-50; Livesay, 525 F.3d at 1089-90. Then, “after giving both parties an opportunity to

  argue for whatever sentence they deem appropriate, the district judge should . . . consider all


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    In Gall, the district court imposed a non-custodial sentence despite an advisory range of 30-37 months; the
  Supreme Court deemed the sentence reasonable. 552 U.S. at 43-44. Although Kimbrough dealt more specifically
  with the crack/powder ratio in the guidelines, its broad message is the same as Gall: where an advisory range is
  severe, and the § 3553(a) factors warrant it, substantial downward variances may be reasonable.

                                                         3
                                             MASE MEBANE & BRIGGS
Case 1:19-cr-20242-UU Document 30 Entered on FLSD Docket 07/22/2019 Page 4 of 13



  of the [18 U.S.C.] § 3553(a) factors to determine whether they support the sentence requested by

  a party.” Livesay, 525 F.3d at 1089-90 (quoting Gall and Pugh).           T he factors which the

  sentencing court “shall consider” are: (1) the nature and circumstances of the offense and the

  history and characteristics of the defendant; (2) the need for the sentence imposed to reflect the

  seriousness of the offense, promote respect for the law, provide just punishment for the offense,

  afford adequate deterrence to criminal conduct, protect the public from further crimes of the

  defendant, and to provide the defendant with needed educational or vocational training, medical

  care, or other correctional treatment in the most effective manner; (3) kinds of sentences

  available; (4) the applicable category of offense committed by the applicable category of

  defendant as set forth in the Federal Sentencing Guidelines; (5) pertinent policy statements issued

  by the Federal Sentencing Commission; (6) the need to avoid unwarranted sentence disparity

  among defendants with similar records who have been found guilty of similar conduct; and (7)

  the need to provide restitution to any victims of the offense. See 18 U.S.C. § 3553(a)(1)-(7).

         The sentencing court “shall impose a sentence sufficient, but not greater than necessary,

  to comply with the purposes set forth” in § 3553(a)(2)(A)-(D). United States v. McBride, 511

  F.3d 1293, 1296-97 (11th Cir. 2007) (addressing sentencing standards and holding in child

  pornography case that substantial downward variance of almost 50% from low-end of advisory

  range comported with (a)(2) and was reasonable).          The court “may not presume that the

  [advisory] Guidelines range is reasonable.”      Gall, 552 U.S. at 50. Thus, after making an

  “individualized assessment” of the § 3553(a) factors based on the facts presented, Id., the

  sentencing court is empowered to grant a variance (above or below) the advisory guidelines

  range, to whatever extent the court deems warranted by those facts. Gall, 552 U.S. at 50-51;


                                                   4
                                        MASE MEBANE & BRIGGS
Case 1:19-cr-20242-UU Document 30 Entered on FLSD Docket 07/22/2019 Page 5 of 13



  Livesay, 525 F.3d at 1090; McBride, 511 F.3d at 1297-98. If the sentencing court decides that the

  facts and the § 3553(a) factors warrant a downward variance, it “must consider the extent of the

  deviation and ensure that the justification is sufficiently compelling to support the degree of the

  variance.” Gall, 552 U.S. at 50.2

           A.       Nature and Circumstances of Offense

        From around November 2017 through March 2018, Ms. Rajadhyaksha ordered 69

  designer handbags (“Luxury Items”) from T.J. Maxx’s e-commerce website.3 The total retail

  value of these Luxury Items was $133,719.23.

        Ms. Rajadhyaksha then removed the T.J. Maxx tags from the Luxury Items and placed

  them on handbags (“Non-Luxury Items”) that she had purchased on Amazon. Thereafter, Ms.

  Rajadhyaksha would ship the Non-luxury Items back to T.J. Maxx requesting a refund.

  Subsequently, Ms. Rajadhyaksha received a full credit on her various accounts from T.J. Maxx

  for all of the returned items.

        At the time of Ms. Rajadhyaksha’s arrest at her residence, law enforcement seized 59

  Luxury Items from Ms. Rajadhyaksha’s bedroom closet. The Luxury Items were unused and in

  pristine condition. Ms. Rajadhyaksha placed 10 of the Luxury Items for sale with an online

  consignment company called The RealReal. All 10 Luxury Items sold and Ms. Rajadhyaksha

  received $10,806.25 in commissions.

           B.       Personal History and Characteristics

           Ms. Rajadhyaksha is a 39 year-old woman who has been married to her husband, Dr.


  2
    The controlling principle is that the district court’s sentence be reasonable; the sentence, if challenged by a party
  claiming it is unreasonable, is reviewed by the Eleventh Circuit under a deferential abuse of discretion standard. For
  a full discussion of the standards of appellate review, see Gall 552 U.S. at 51, Livesay, 525 F.3d at 1090.
  3
    See PSIR at ¶¶ 17-29 (Offense Conduct) and Factual Proffer (D.E. 20).

                                                            5
                                                MASE MEBANE & BRIGGS
Case 1:19-cr-20242-UU Document 30 Entered on FLSD Docket 07/22/2019 Page 6 of 13



  Amar Rajadhyaksha for almost 13 years.4 Dr. Rajadhyaksha is an orthopedic surgeon who

  specializes in spine surgery and is the manager of Miami Spine Institute LLC located in Coral

  Gables, Florida. They have two children together: a son, Vinay (8), and a daughter Saya (5);

  both who attend Saint Stephen’s Episcopal Day School in Coconut Grove, Florida.              Ms.

  Rajadhyaksha maintains a close and loving relationship with her two children and, husband. Dr.

  Rajadhyaksha is fully supportive of his wife notwithstanding the impact of the instant offense on

  his family.

             Ms. Rajadhyaksha was born in Michigan and raised by her parents in the Midwest. Her

  father, Chandrakant Patel, was a chemical engineer who died from complications of colon

  cancer in 2015 at 69 years-old. Her mother, Panna Patel, is a retired small business manager

  and resides in Melbourne, Florida. Ms. Rajadhyaksha has one (1) brother, Manan Patel (42),

  who is a pathologist. He is married with three (3) children and lives in Indiana. Both her mother

  and brother are aware of the instant offense and remain supportive.

             Ms. Rajadhyaksha graduated from Troy High School in Troy, Michigan in 1998. In

  1992, she received a Bachelor of Arts degree in Business with a minor in Political Science from

  the University of Michigan.            Following graduation, Ms. Rajadhyaksha moved to New York

  City and was employed for approximately eight (8) years as a medical sales representative for

  Zimmer Holdings. During this time in New York City, she met her future husband, Dr.

  Rajadhyaksha, and they eventually got married in 2006.

             In 2009, due to career opportunities for her husband, Ms. Rajadhyaksha re-located to

  Miami, Florida. Until 2013, Ms. Rajadhyaksha concentrated on having children and starting a


  4
      See PSR at ¶¶ 48-67 (Offender Characteristics).


                                                          6
                                                 MASE MEBANE & BRIGGS
Case 1:19-cr-20242-UU Document 30 Entered on FLSD Docket 07/22/2019 Page 7 of 13



  family. For the past 6 years, Ms. Rajadhyaksha has worked part-time from home marketing the

  Miami Spine Institute LLC. In addition to marketing, she acts as a liaison between physicians,

  attorneys and patients.

          In 2015, tragedy struck the Ms. Rajadhyaksha’s family.                       As stated supra, Ms.

  Rajadhyaksha’s father suddenly and tragically died from complications with colon cancer.

  Suring this time, she frequently drove to Melbourne, Florida each weekend to be by her father’s

  side and be supportive of her mother. Additionally, her father medical condition was initially

  misdiagnosed by his physicians which led to his “untimely” death. This significantly impacted

  Ms. Rajadhyaksha’s mental state.

          Ms. Rajadhyaksha has endured several serious medical issues of her own throughout her

  time in Miami. She has had three (3) difficult pregnancies; one resulting in a miscarriage.

  During the pregnancy of her first child, Vinay, she suffered from severe hyperemesis of

  pregnancy; with nausea and vomiting so severe, she needed to sleep on the bathroom floor.

  When Ms. Rajadhyaksha became pregnant with her daughter, Saya, the hyperemesis was even

  more profound while at the same time managing another toddler.

          During the time frame of the conduct in the instant offense, Ms. Rajadhyaksha was

  suffering from Major Depression and Social Anxiety Disorder. Dr. Singer, a board-certified

  psychiatrist, has been treating Ms. Rajadhyaksha weekly since April 2019. Dr. Singer opines 5

  that Ms. Rajadhyaksha’s has been suffering from depression for the past seven (7) years; likely

  beginning with the difficulties associated with the birth of her first child. Additionally, Dr.

  Singers believes that the relocation from New York to Miami where she was cut-off from her


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   Dr. Singer’s Psychological Evaluation and Report was submitted to the Court as an attachment to the Pre-sentence
  Investigation Report.

                                                          7
                                              MASE MEBANE & BRIGGS
Case 1:19-cr-20242-UU Document 30 Entered on FLSD Docket 07/22/2019 Page 8 of 13



  professional and social support groups, led her to feel “isolated” and deepened her depression.

  Moreover, the circumstances surrounding the unexpected and unnecessary death of her father

  only exacerbated her clinical depression.

             According to Dr. Singer, Ms. Rajadhyaksha’s conduct in this matter (buying and

  substituting handbags) became an obsession and a way to break the routine of her depression.

  With continued mental health treatment and medication, Dr. Singer’s opines that Ms.

  Rajadhyaksha’s prognosis is excellent. Moreover, her risk of recidivism is virtually zero. Ms.

  Rajadhyaksha is amenable to any mental health treatment that the Court deems appropriate.

             The negative impact of this offense on Ms. Rajadhyaksha’s husband and children cannot

  be understated. She readily acknowledges that it was her conduct that caused this harm; she is

  guilt-ridden over this. One example of this impact, Ms. Rajadhyaksha’s daughter was told by

  another student in her school that “I heard your mommy is a thief.” Additionally, shortly after

  her arrest, Ms. Rajadhyaksha received an anonymous letter from someone at her children’s

  school stating “You are a low life idiot. Get the hell out of our school.” See Exhibit “A”. Ms.

  Rajadhyaksha asks the Court to consider the foregoing in determining an appropriate sentence

  for her in this matter.

             Shortly after Ms. Rajadhyaksha’s change of plea, people who truly know and love her

  wrote letters to the Court to help give the Court some insight into the type of person she is before

  the Court for sentencing. These letters,6 present the best and most reliable portrait of Ms.

  Rajadhyaksha’s true character. The authors of these letters represent a broad spectrum of

  people including teachers, friends, colleagues and most importantly, her family.

             What is clear in these letters is Ms. Rajadhyaksha’s dedication to her family and helping

  6
      These letters are selected excerpts from Composite Exhibit “A” previously filed with the Court (D.E. 27).

                                                              8
                                                 MASE MEBANE & BRIGGS
Case 1:19-cr-20242-UU Document 30 Entered on FLSD Docket 07/22/2019 Page 9 of 13



  others in the community through charitable work. Dr. Christine Winter, who recently moved to

  Miami and experienced first-hand Ms. Rajadhyaksha’s welcoming way and friendship:

         I met Meghana Rajadhyaksha in August 2017 after we moved to Miami from
         Switzerland and our children started going to school in St. Stephen’s Episcopal
         Day School. Meghana was the room parent in my daughter’s class and helped us a
         lot with the transition to the new school and did everything to make us feel
         welcome. She organized a family picnic to help our children to make new friends
         in their school. I was impressed by her warm and friendly personality and her
         desire to connect and support others. As a room mum in our class she spent too
         much time and energy to organize field trips, parties special events for the
         children etc. She supported the students, teachers, and families in every way she
         could and I respect her for all the work she did for our class. She organized a
         heartwarming “Kindness-Dance” for the children that was one of my highlights of
         the school year. I admire her for the love and passion that she puts in everything
         she does. Meghana and I became close friends in the last year. We had countless
         conversations about parenthood, families, relationships, education, beliefs, our
         hopes for the future and so much more. I trust her 100% and she never
         disappointed me as a friend. I truly value her opinion when I face a difficult
         situation and I can always count on her when I need support. Meghana is a
         wonderful mother to her children and sets an example for all parents to bring out
         the best in our children. Her children shine bright academically and socially in the
         school community. In my career as a pediatrician I have met a lot of families, but
         rarely a family that impressed me more than the Rajadhyakshas.

         Suzy Buckley Woodard, who knows Ms. Rajadhyaksha through doing charity work in

  the community, writes about her acts of kindness to others, to her , and taking a terrible mistake

  and turning it into a positive learning lesson:

         I have known Meghana for four years, and we’ve not only traveled together as
         friends socially, but have served on various committees together in the Miami
         charity world, including the women of Tomorrow Rosé Day Fundraiser, and
         Nicklaus Children’s Hospital’s Wine, Women & Shoes fundraiser. She’s a very
         caring, thoughtful, devoted wife to her husband. The first thing she asked me
         when her alleged crime came to light was, “How can I turn this into something
         positive, what can I do to move forward and move past this?” She was
         immediately interested in righting any wrongs and getting back on the right track.
         I understand that she has been through some emotional and physical challenges
         the past several years, including the death of her father, two difficult pregnancies
         and a miscarriage. I think that she was probably not in the best frame of mind and
         perhaps even dealing with a chemical imbalance when the alleged misguided
         schemes were allegedly concocted. I’ll never forget a few years ago, when I was

                                                    9
                                         MASE MEBANE & BRIGGS
Case 1:19-cr-20242-UU Document 30 Entered on FLSD Docket 07/22/2019 Page 10 of 13



         having horrible stomach pains during my own birthday party. She left the party
         immediately and walked to Walgreens to get me medicine! I told her over and
         over how nice that was, as it was super inconvenient for her to have to leave the
         dinner, and she really went out of her way to make me comfortable. On another
         occasion, she and her husband kindly wrote me a letter of recommendation to try
         to help my daughter be admitted to a private school I was hoping she would
         attend. They are both great people who are willing to help and make the world a
         better place. I think people deserve second chances, and hope you will consider
         giving her a little room to grow in this situation.

         Dr. Rajadhyaksha, who truly knows his wife best, writes about her struggles with her

  pregnancies, her father’s death, and the stigma of mental health issues in their cultural

  background and the remarkable progress he has observed up close in his wife since receiving

  mental health therapy:

         She has always been an independent woman. When I met her, she had loving and
         supportive friends and family. She had a successful career and she was a strong
         woman. We left New York City in 2009 and came to Miami. Soon after our move
         to Miami, she became pregnant. She had a very difficult pregnancy, filled with
         nausea and vomiting. Being new to Miami, we did not have a support system.
         Unfortunately, I was building my practice at that time, and I was not there as
         much as I should have been. After the birth of our first child, we soon became
         pregnant again. Meghana carried that baby for three months (accompanied by
         severe nausea and vomiting again) and then had a miscarriage. This was
         devastating for her. At the time, the only thing that would make her feel
         somewhat better was to get pregnant again. We started trying right away. When
         she became pregnant again, she started to cry, as she was so afraid of going
         through another pregnancy. The third pregnancy was worse than the prior two.
         She was so sick that she was not able to eat or drink. I used to give her IV fluids
         at home. During this time, her father was misdiagnosed and then diagnosed with
         colon cancer. With a two-year-old and a newborn, she drove every weekend to
         northern Florida to watch her father suffer until his death. She felt cheated. In the
         ensuing months and years, she became more and more withdrawn. As her
         husband, I didn’t analyze her. I didn’t notice how she was changing. Coming from
         a conservative Indian background, there was a significant stigma associated with
         mental health issues, so she never brought up her feelings or asked for help. As a
         doctor, I am embarrassed that I didn’t see the signs of her depression. She was
         withdrawn. She had insomnia. She didn’t eat. She became anti-social. These are
         all signs of depression that I missed. As her husband, I am ashamed, as I just
         thought she was moody. I thought that we all have good days and bad days. I wish
         I could go back in time and give her the support that she deserved and got her the

                                                  10
                                        MASE MEBANE & BRIGGS
Case 1:19-cr-20242-UU Document 30 Entered on FLSD Docket 07/22/2019 Page 11 of 13



         help that she so desperately needed. Over the past few months, she has received
         professional help from Dr. Singer. She is on medication and is motivated to heal. I
         have seen such a remarkable difference in her with just a few months of therapy
         and the appropriate medications. She has acknowledged her mistakes and I assure
         you that she will never make them again.

         Notwithstanding the foregoing, Ms. Rajadhyaksha throughout her time in Miami has still

  been committed and devoted her time to doing charitable work. Since 2009, she has donated

  money, supporting through hands-on work and through organizing fundraising events for the

  following organizations:

         1) Women of Tomorrow;
         2) Nicklaus Children’s Hospital Foundation;
         3) Jackson Health Foundation/Holtz children’s Hospital;
         4) Big Bother’s Big Sisters of Miami;
         5) Habitat for Humanity;
         6) American Cancer Society;
         7) Kristi House;
         8) Diabetes Research Institute Foundation;
         9) Children’s Home Society;
         10) Miami Children’s Museum;
         11) Baptist Health System/Doctor’s Hospital;
         12) Buoniconti Fund to Cure Paralysis;
         13) Miami Rescue Mission for the Homeless;
         14) Bass Museum of Art;
         15) Vizcaya Preservation Society; and,
         16) Fairchild Tropical Foundation.

  See PSIR at ¶ 63.

         Courts have repeatedly held that a defendant’s otherwise good character and deeds, and

  charitable work should be considered as a factor in sentencing. United States v. Autery, 555 F.3d

  864 (9th Cir. 2009) (downward variance not unreasonable in part because of defendant’s positive

  characteristics including no history of substance abuse, no interpersonal instability, his

  motivation and intelligence, and his support of his wife and child); United States v. Santoya, 493

  F. Supp. 2d 1075 (E.D. Wisc. 2007) (downward departure justified in part because of significant


                                                 11
                                       MASE MEBANE & BRIGGS
Case 1:19-cr-20242-UU Document 30 Entered on FLSD Docket 07/22/2019 Page 12 of 13



  positives in defendant’s character as evidenced by letters from family and fiancé); United States v.

  Wachowiak, 496 F.3d 744 (7th Cir. 2007) (downward departure from 121-151 months to 70

  months due, in part, to the guidelines failing to consider defendant’s otherwise outstanding

  character, as depicted in the many supportive letters provided); United States v. Tomko, 562 F.3d

  558 (3d Cir. 2009) (downward variance not unreasonable in part because of defendant’s charitable

  activities and good deeds); United States v. Rouhani, 598 Fed.Appx. 626 (11th Cir. 2015)

  (downward variance granted where district court found many people depend on defendant both in

  his business and personal life, and defendant had a history of trying to be a good citizen and doing

  good deeds).

            Ms. Rajadhyaksha asks the Court to consider her life-long commitment to others and her

  community when imposing her sentence.

            C.     Restitution

            One of the factors the Court shall consider in determining an appropriate sentence is “the

  need to provide restitution to any victims of the offense.” See 18 U.S.C. § 3553(a)(7). At a very

  early stage in this matter, undersigned counsel informed the United States and subsequently the

  United States Probation Office that Ms. Rajadhyaksha would be paying restitution at the time of

  sentencing to the victim, T.J. Maxx.

            IV.    CONCLUSION

            After making an individualized assessment of Ms. Rajadhyaksha and weighing the §

  3533(a) factors, a non-custodial sentence would lead to a reasonable and just sentence in this

  matter.




                                                    12
                                          MASE MEBANE & BRIGGS
Case 1:19-cr-20242-UU Document 30 Entered on FLSD Docket 07/22/2019 Page 13 of 13




                                             Respectfully submitted,

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                              CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on July 22, 2019, the foregoing has been electronically filed

  with the Clerk of Court and served on all parties of record through CM/ECF.


                                      By: /s/Christopher G. Lyons
                                          CHRISTOPHER G. LYONS, ESQ.




                                                13
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